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                               OATH HOLDINGS INC.,
                             8 erroneously named as “YAHOO, INC.”
                             9
                                                        UNITED STATES DISTRICT COURT
                            10
                                                     SOUTHERN DISTRICT OF CALIFORNIA
                            11
D OLL A MIR & E LEY LLP




                            12    CARSTEN ROSENOW,                      Case No. 3:19-CV-01297-WQH-MDD
                            13                 Plaintiff,               Assigned to Judge William Q. Hayes;
                                                                        Referred to Magistrate Judge Mitchell
                            14    v.                                    D. Dembin
                            15    FACEBOOK, INC., YAHOO, INC.           DEFENDANTS’ FIFTH STATUS
                                                                        REPORT RE: CARSTEN
                            16                 Defendants.              ROSENOW’S CRIMINAL
                                                                        APPEAL
                            17
                            18                                          Complaint Filed: July 12, 2019
                                                                        FAC Filed: Oct. 21, 2020
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                                 DEFENDANTS’ FIFTH STATUS REPORT RE:                    3:19-CV-01297-WOH-MDD
                                 ROSENOW’S CRIMINAL APPEAL
                          Case 3:19-cv-01297-WQH-MDD Document 64 Filed 07/01/22 PageID.1403 Page 2 of 4



                             1                      DEFENDANTS’ FIFTH STATUS REPORT
                             2         On April 8, 2021, the Court stayed the above-captioned action until the
                             3 conclusion of Plaintiff Carsten Rosenow’s (“Rosenow”) criminal appeal to the Court
                             4 of Appeals for the Ninth Circuit and ordered the parties to file regular reports on the
                             5 status of the appellate proceedings. (ECF No. 52.) Pursuant to the Court’s Order,
                             6 Defendants Oath Holdings Inc. (erroneously sued as “Yahoo, Inc.”) and Facebook,
                             7 Inc., hereby provide the following status report: On April 27, 2022, the Ninth Circuit
                             8 issued an opinion in the criminal appeal, which affirmed Plaintiff’s conviction. (See
                             9 ECF No. 60, Defendants’ Notice to Court re Ninth Circuit Opinion.) Defendants
                            10 understand that Rosenow has filed a request for a rehearing en banc with the Ninth
                            11 Circuit, and that the Ninth Circuit has granted the United States an extension of time
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                            12 to August 1, 2022 to file a response to the request.
                            13
                                                                          Respectfully submitted,
                            14
                                 DATED: July 1, 2022                      DOLL AMIR & ELEY LLP
                            15
                                                                          By: /s/ Jamie O. Kendall
                            16                                                GREGORY L. DOLL
                                                                              JAMIE O. KENDALL
                            17                                                TED A. GEHRING
                            18                                            Attorneys for Defendant,
                                                                          OATH HOLDINGS INC.,
                            19                                            erroneously named as “YAHOO, INC.”
                            20
                                 DATED: July 1, 2022                      MORRISON & FOERSTER LLP
                            21
                            22                                            By: /s/ Christin J. Hill
                                                                               CHRISTIN J. HILL
                            23
                                                                          Attorneys for Defendant,
                            24                                            FACEBOOK, INC.
                            25         I, Jamie O. Kendall, am the ECF user whose identification and password are
                            26 being used to file this Status Report. I hereby attest that Christin Hill has concurred in
                            27 this filing.
                            28 /s/ Jamie O. Kendall

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                                 DEFENDANTS’ FIFTH STATUS REPORT RE:                             3:19-CV-01297-WOH-MDD
                                 ROSENOW’S CRIMINAL APPEAL
                          Case 3:19-cv-01297-WQH-MDD Document 64 Filed 07/01/22 PageID.1404 Page 3 of 4



                             1                                      PROOF OF SERVICE
                             2                STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                             3       I am employed in the County of Los Angeles, State of California. I am over
                               the age of 18 years and not a party to the within action. My business address is 725 S.
                             4 Figueroa Street, Suite 3275, Los Angeles, California 90017.
                             5 On July 1, 2022, I served the foregoing document described as DEFENDANTS’ FIFTH
                               STATUS REPORT RE: CARSTEN ROSENOW’S CRIMINAL APPEAL on the
                             6 interested parties in this action by placing the original and/or a true copy thereof enclosed in (a)
                                 sealed envelope(s), addressed as follows:
                             7
                             8          SEE ATTACHED SERVICE LIST

                             9         BY REGULAR MAIL: I deposited such envelope with the United States
                                        Postal Service with postage fully prepaid.
                            10         BY FACSIMILE MACHINE: I transmitted a true copy of said document(s)
                            11          by facsimile machine, and no error was reported. Said fax transmission(s)
                                        were directed as indicated on the service list.
D OLL A MIR & E LEY LLP




                            12         BY OVERNIGHT DELIVERY: I caused such documents to be delivered
                            13          overnight via an overnight delivery service in lieu of delivery by mail to the
                                        addressees. The envelope or package was deposited with delivery fees thereon
                            14          fully prepaid.

                            15         BY ELECTRONIC MAIL: I transmitted a true copy of said document(s) via
                                        electronic mail, and no error was reported. Said email was directed as
                            16          indicated on the service list.

                            17         BY PERSONAL SERVICE: I caused such envelope(s) to be delivered by
                                        hand to the above addressee(s).
                            18         BY CM/ECF: I electronically transmitted a true copy of said document(s) to
                            19          the Clerk’s Office using the CM/ECF System for filing and transmittal of a
                                        Notice of Electronic Filing to the aforementioned CM/ECF registrants.
                            20       I declare that I am employed in the office of a member of the Bar of this Court,
                               at whose  direction the service was made. I declare under penalty of perjury under the
                            21 laws of the State of California that the foregoing is true and correct.
                            22       Executed on July 1, 2022, at Los Angeles, California.
                            23
                            24                                                             Courtney McCabe
                            25
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                          Case 3:19-cv-01297-WQH-MDD Document 64 Filed 07/01/22 PageID.1405 Page 4 of 4



                             1                                      SERVICE LIST
                             2
                             3   VIA MAIL                                  T: 650.868.3011
                                 Carsten Rosenow                           E: crosenow@rocketmail.com
                             4   Reg. No. 62380-298
                             5   FCI La Tuna                               Plaintiff, Pro Se
                                 Federal Correctional Institution
                             6   P.O. Box 3000
                                 Anthony, NM 88021
                             7
                             8
                                 VIA CM/ECF                                T: (415) 268-7000
                             9   Joshua Hill Jr., Esq.                     F: (415) 268-7522
                                 Christin J. Hill, Esq.                    E: JHill@mofo.com
                            10   R. Benjamin Nelson, Esq.                  E: CHill@mofo.com
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                            12   San Francisco, CA 94105-2483              Attorneys for Defendant, Facebook, Inc.
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